Case 1:02-cV-01282-.]DB-tmp Document 29 Filed 04/22/05 Page 1 of 4 Page|D 45

IN TI-IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

AT JACKSON
DAVID LUGO, )
)
Plaiotiff, )
) Case No.: 1:02-1282-Bre/P
V- )
)
CORRECTIONS CORPORATION )
OF AMERICA, et al.., )
)
Defendants. )

 

ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Cornpel is extended up to and including June 10, 2005.

'c/@P€a,_

JUDGE
DATED; L/ / 3_.1 _/ df”"

IT IS SO ORDERED.

 

 

 

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APPROVED FOR ENTRY:

MMJN all/me

JAMES I. PENTECOST

BRANDON O. GIBSON

PENTECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, Tennessee 38305

ROBERT J. WALKER

MARK TIPPS

JOSEPH WELBORN

WALKER, BRYANT, TIPPS & MALONE
2300 One Nashville Place

 
 
 
 
 

     

l il. ;
WA '
ROBERT W. RITCHIE
RITCHIE, FELS & DILLARD
P.O. Box 1126

Knoxville, Tennessee 37901-1126

W. GASTON FAIREY

W. GASTON FAIREY, LLC
1722 Main Street, Suite 300
Columbia, South Carolina 29201

150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424
COUNSEL FOR DEFENDANTS

CERTIFICA'I`E OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

 

 

ames I. Pentecost (#011640)
Brandon O. Gibson (#21485)
A_ttorneys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

J ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<Son7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<Son7 TN 38305

W. Gaston Fairey

FAIREY PARISE & 1\/[[LLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
206 S. Third

Delavan, WI 531 15

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

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Honorable J. Breen
US DISTRICT COURT

